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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISON
JAVIER GONZALEZ-LOZA )
)
Plaintiff, )
) No. 19-cv-3046
v. )
) Judge Kennelly
UNITED STATES OF AMERICA and )
KANKAKEE COUNTY SHERIFF MIKE )

DOWNEY et. al.

NOTICE OF FILING

———$————_—

PLEASE TAKE NOTICE that on May 13, 2020 I caused to be e-filed the parties JOINT INITIAL

STATUS REPORT on this honorable court.

By:s/ Joshua N Karmel
Court Appointed Attorney for the Plaintiff

 

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UNITED STATES DISTRICT COURT
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EASTERN DIVISON
JAVIER GONZALEZ-LOZA )
)
Plaintiff, )
) No. 19-cv-3046
v. )
) Judge Kennelly
UNITED STATES OF AMERICA and )
KANKAKEE COUNTY SHERIFF MIKE )

DOWNEY et. al.,
Defendants.
JOINT INTIALSTATUS REPORT

Pursuant to a Court order dated April 12, 2020 , the parties by and through their respective
attorneys have submitted the following joint status report as follows:

The Nature of the Case
1. Identify the attorneys of record for each party including the lead trial attorney
a. Attorneys for Plaintiff
Joshua N Karmel
b. Attorneys for Defendant
Sarah North
Michael William Condon

Tony Fioretti

2. State the basis for federal jurisdiction
Federal Tort Claims Act

3. Describe the nature of the claims asserted in the complaint and any counter claims
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4. State the major legal and factual issues anticipated in the case

The major issues in this case is whether the Plaintiff was injured due to the claimed
negligence of the Defendants while he was being transported in Defendants’ custody.
5. Describe the relief sought by the Plaintiff
Plaintiff seeks monetary damages for the injuries.
Mandatory Initial Discovery Program
1. Familiarity with the Mandatory Initial Discovery Standing Order
Parties are familiar with the Mandatory Initial Discovery Program
2. Confirm Compliance with mandatory initial discovery responses
The parties will comply with the mandatory initial discovery responses upon the

Court order.

3. Describe any disputes concerning the mandatory initial discovery responses

wk

Pending Motions and Case Plan
1. Identify Pending Motions

The Defendants have filed Motions to Dismiss for failure to exhaust the remedies
under the Federal Tort Claim Acct.
2. Submit a proposal for a discovery plan
The Parties will conduct discovery regarding documents, communications,
electronically stored information, and tangible things relevant to the Plaintiff's claim and
the names, and if known, the addresses and telephones numbers of all persons likely to

have discoverable information relevant to Plaintiffs claim if and when the time comes.
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Questions Specific to the Court Order of April 12, 2020

1. Whether Plaintiff's attorney has been able to communicate with
Plaintiff.
The Court appointed attorney Joshua N Karmel sent a certified letter dated
May 7, 2020 introducing himself and explaining the current state of the case
including the pending motions to dismiss. Attorney Karmel is not fluent in
Spanish despite the courts understanding to the contrary. The document
indicating that Attorney Karmel is fluent in Spanish was due to one of his
former associates that was fluent and conversant. Since then the associate left.
Despite the language barrier, Attorney Karmel sent a letter that he had
translated though Google Translate and has asked that the Plaintiff
communicate via letter if possible.

2. Whether Plaintiff has made any effort to exhaust his remedies under the
Federal Tort Claims Act.

No. But that was explained in the May 7" letter.

3. Whether there are additional matters that any party may present to the
Court.
As Plaintiff's court appointed attorney, this case has many potential obstacles
that I may not be able to overcome. The first, is my inability to comprehend or
be conversant in Spanish. The second challenge is the Plaintiff incarceration

in Oklahoma. This adds another layer of difficulty to my effectiveness in
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representing the Plaintiff. Due to the costs and the obvious safety concerns
from COVID-19, I do not foresee meeting the plaintiff anytime soon.
Despite the apparent difficulties, I will do what I can to meet my legal duties

to represent the Plaintiff.

Respectfully Submitted,

/s/ Joshua N. Karmel
Court Appointed Attorney for the Plaintiff

Joshua N. Karmel

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